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                                               IN THE UNITED STATES DISTRICT COURT
                                              FOR THE NORTHERN DISTRICT OF ILLINOIS

  IN RE: TESTOSTERONE REPLACEMENT                                                    MDL No. 2545
  THERAPY PRODUCTS LIABILITY LITIGATION                                              Master Docket Case No. 1:14-cv-01748
 Julia Anderson, on behalf of the Estate of Cedric Anderson and Julia Anderson,      Honorable Matthew F. Kennelly
 individually


 Plaintiff(s),
 v.
 Endo Pharmaceuticals, Inc.
                                                                                     Case No.: 18-cv-7999




 Defendant(s).
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                                               MASTER SHORT-FORM COMPLAINT
                                                  FOR INDIVIDUAL CLAIMS
                                                  Julia Anderson, on behalf of the Estate of Cedric Anderson and Julia Anderson, individually
            1.            Plaintiff(s),                                                                                                         ,

state(s) and incorporate(s) by reference the portions indicated below of Plaintiffs’ Master

Long Form Complaint on file with the Clerk of the Court for the United States District

Court for the Northern District of Illinois in the matter entitled In Re: Testosterone

Replacement Therapy Products Liability Litigation, MDL No. 2545. Plaintiff(s) [is/are] filing

this Short Form Complaint as permitted by Case Management Order No. 20 of this Court
for cases filed directly into this district.

            2.            In addition to the below-indicated portions of the Master Long Form

Complaint adopted by the plaintiff(s) and incorporated by reference herein, Plaintiff(s)

hereby allege(s) as follows:
                                                                                  VENUE
            3.            Venue for remand and trial is proper in the following federal judicial

district:        Disctrict Court of Nebraska
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                           IDENTIFICATION OF PLAINTIFF(S)
                          AND RELATED INTERESTED PARTIES

      4.       Name and residence of individual injured by Testosterone Replacement

Therapy product(s) (“TRT”): Cedric        Anderson


      5.       Consortium Claim(s): The following individual(s) allege damages for loss

of consortium: Julia    Anderson, Bellevue, NE


      6.       Survival and/or Wrongful Death claims:

            a. Name and residence of Decedent when he suffered TRT-related injuries

               and/or death:
Cedric Anderson, Bellevue, NE


            b. Name and residence of individual(s) entitled to bring the claims on behalf

               of the decedent’s estate (e.g., personal representative, administrator, next of

               kin, successor in interest, etc.)
Julia Anderson, Bellevue, NE, Surviving Spouse


                                   CASE SPECIFIC FACTS
                          REGARDING TRT USE AND INJURIES
      7.       Plaintiff currently resides in (city, state): Bellevue, NE

      8.       At the time of the TRT-caused injury, [Plaintiff/Decedent] resided in (city,

state): Bellevue,    NE
      9.       [Plaintiff/Decedent] began using TRT as prescribed and indicated on or

about the following date: May      2014
      10.      [Plaintiff/Decedent] discontinued TRT use on or about the following date:
November 2014
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      11.      [Plaintiff/Decedent] used the following TRT products, which Plaintiff

contends caused his injury(ies):

ჱ    AndroGel                                    ჱ     Striant
ჱ     Testim                                      ჱ     Delatestryl
ჱ     Axiron                                      ჱ     Other(s) (please specify):
ჱ     Depo-Testosterone                           ____________________________________
ჱ     Androderm                                   ____________________________________
ჱ     Testopel                                    ____________________________________
ჱ
✔     Fortesta                                    ____________________________________


      12.      [Plaintiff/Decedent] is suing the following Defendants:

ჱ     AbbVie Inc.                             ჱ
                                              ✔
                                                      Endo Pharmaceuticals, Inc.
ჱ     Abbott Laboratories
                                              ჱ       Auxilium Pharmaceuticals, Inc.
ჱ     AbbVie Products LLC
ჱ     Unimed Pharmaceuticals, LLC             ჱ       GlaxoSmithKline, LLC
ჱ     Besins Healthcare Inc.
ჱ     Besins Healthcare, S.A.                 ჱ       Actavis, Inc.
                                              ჱ       Actavis Pharma, Inc.
                                              ჱ       Actavis Laboratories UT, Inc.
ჱ      Eli Lilly and Company                  ჱ       Anda, Inc.
ჱ      Lilly USA, LLC
ჱ      Acrux Commercial Pty Ltd.
ჱ      Acrux DDS Pty Ltd.

ჱ      Pfizer, Inc.
ჱ      Pharmacia & Upjohn Company Inc.


ჱ     Other(s) (please specify):




      13.      [Plaintiff/Decedent] is bringing suit against the following Defendant(s),

who did not manufacture TRT and only acted as a distributor for TRT manufacturers:
N/A


            a. TRT product(s) distributed:
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             b. Conduct supporting claims:




       14.      TRT caused serious injuries and damages including but not limited to the

following:
Plaintiff Cedric Anderson died as a result of his use of Fortesta, causing
pain, suffering, , physical pain and economic loss, both past and future.
Julia Anderson was deprived of the comfort and society of her spouse Cedric Anderson.

       15.      Approximate date of TRT injury: December        2014



                ALLEGATIONS, CLAIMS, AND THEORIES OF RECOVERY
                 ADOPTED AND INCORPORATED IN THIS LAWSUIT
       16.      Plaintiff(s) hereby adopt(s) and incorporate(s) by reference as if set forth
fully herein, all common allegations contained in paragraphs 1 through 46 of the

Master Long Form Complaint on file with the Clerk of the Court for the United States

District Court for the Northern District of Illinois in the matter entitled In Re:
Testosterone Replacement Therapy Products Liability Litigation, MDL No. 2545.

       17.      Plaintiff(s) hereby adopt(s) and incorporate(s) by reference as if set forth

fully herein, the following damages and causes of action of the Master Long Form

Complaint on file with the Clerk of the Court for the United States District Court for the

Northern District of Illinois in the matter entitled In Re: Testosterone Replacement Therapy

Products Liability Litigation, MDL No. 2545:

      ჱ
      ✔         Count I – Strict Liability – Design Defect

      ჱ
      ✔         Count II – Strict Liability – Failure to Warn

      ჱ
      ✔         Count III – Negligence
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       ჱ
       ✔      Count IV – Negligent Misrepresentation

       ჱ
       ✔      Count V – Breach of Implied Warranty of Merchantability

       ჱ
       ✔      Count VI – Breach of Express Warranty

       ჱ
       ✔      Count VII – Fraud

       ჱ
       ✔      Count VIII – Redhibition

       ჱ
       ✔      Count IX – Consumer Protection

       ჱ
       ✔      Count X – Unjust Enrichment

       ჱ
       ✔      Count XI – Wrongful Death

       ჱ
       ✔      Count XII – Survival Action

       ჱ
       ✔      Count XIII – Loss of Consortium

       ✔
       ჱ      Count XIV – Punitive Damages

       ✔
       ჱ      Prayer for Relief

       ჱ      Other State Law Causes of Action as Follows:




                                       JURY DEMAND
Plaintiff(s) demand(s) a trial by jury as to all claims in this action.


Dated this the 30th day of    November                 18
                                                   , 20____.


                             RESPECTFULLY SUBMITTED
                             ON BEHALF OF THE PLAINTIFF(S),

                             s/ Michael A. London
                             Signature

OF COUNSEL:           (name) Michael A. London
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